                                         Case 2:18-cv-05062-CFK Document 1 Filed 11/21/18 Page 1 of 13
JS 44 (Rev 06/17)                                                                           CIVIL COVER SHEET
The JS 44 c1V1l cover sheet and the mformauon contamed herem neither replace nor supplement the filmg and service of pleadm&S or other papers as reqmred by law, except as
provided by local rules of court This form, approved by the Jud1c1al Conference of the Umted States m September 1974, 1s required for the use of the Clerk of Court for the
purpose of 1mt1atmg the CIVIi docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FOKM,J
I. (a) PLAINTIFFS                                                                                                                     DEFENDANTS
 Jodi Darrah                                                                                                                        Pain Management & MRI Philadelphia,                                                      unty
                                                                 \                                                                  & Delaware
     (b) County of Residence of First LISted Plam                                                                                     County of Residence of First Listed Defend
                                       (EXCEPT IN ll S P                                                                                                       (IN US PLAINT/ff
                                                                                                                                       NOTE        IN LAND CONDEMNATION CASES,
                                                                                                                                                   THE TRACT OF LAND INVOLVED

   ( C) Attorneys (Firm Name. Address. and Tele e Nu er)                                                                               Attorneys (lj Known)
 Michael Murphy. Esq., Murphy Law Gro , LC, Eight Penn Center,
 Suite 2000, 1628 John F. Kennedy Blvd., Philadelphia, PA 19103,
 267-273-1054

II. BASIS OF JURIS                                                                                                   ID. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" mOne Box for Ptatntlfl
                                                                                                                                 (for D1vers1ty Cases Only)                                                     and One Box for Defendant}
:::J I   U S Government                                   Federal Question                                                                                       PTF        DEF                                                   PTF        DEF
           Plamuff                                          (lJ S Govemment Not a Party)                                   Citizen of Tuts State                 '.1        '.1    1   Incorporated or Pnnc1pal Place               (1   4   (1   4
                                                                                                                                                                                         of Bnsmess In Tuts State

'.1 2    U S Government                        n     4    Diversity                                                        Citizen of Another State              (1    2    '.1    2   Incorporated and Pnnc1pal Place              0 5      '.1 5
            Defendant                                       (Indicate Czt1zensh1p of Parties m Item III)                                                                                  of Bnsmess In Another State

                                                                                                                                                                 n     3    o          Foreign Nanon                                n    6   n    6

IV. NATURE OF SUIT (Place an "X" tn One Box Only)                                                                                                                            Click here for Nature of Smt Code Descn t10ns.
                                                                                                                              FORFEITL'REJPENALTY                                 BANKRUPTCY                           OTHER STATUTES
("] 110 Insurance                                   PERSONAL INJL'RY                       PERSONAL INJURY                :'.l 625 Drug Related Seizure    '.1 422 Appeal 28 USC 158                          :'.l   375 False Qauns Act
:'.l 120 Manne                               '.1    310Arrplane                       (1 365 Personal inJnry ·                      of Property 21USC881  :'.l 423 Withdrawal                                 ("J    376 Qw Tam (31 USC
0 130 Miller Act                             0      31 S Airplane Prodnct                      Product L1abtl1ty          n 690 Other                                 28 USC 157                                           3729(a))
(1 140 Negotiable lnstrnment                              Liability                   (1 367 Health Cace/                                                1--====~==..----1 Cl                                        400 State Reappomonment
:::J 150 Recovery of Overpayment             :::J   320 Assanlt, Libel &                       Pharmacenllcal                                            1--..u.,..P....,......._R.,.I.....,...._,..._~ (1           410 Antitrust
         & Enforcement of Judgment                        Slander                              Personal in,Jnry                                            0 820 Copynghts                                    0      4 30 Banks and Bankmg
:::J 151 Medicare Act                        (1     330 Federal Employers'                     Prodnct Ltab1hty                                           n 830 Patent                                        ("J    450 Commerce
'.1 152 Recovery of Defaulted                             Ltabtl1ty                   :::J 368 Asbestos Personal                                           0 835 Patent· Abbreviated                          :::J   460 Deportation
         Student Loans                       n      340 Manne                                   Injury Product                                                        New Drug Apphcatton                     (1     470 Racketeer Influenced and
         (Excludes Veterans)                 n      345 Manne Product                           L1abthty                                                   :'.l 840 Trademark                                             Conupt Orgamzallons
n 153 Recovery of Overpayment                             Liability                       PERSONAL PROPERTY 1-=...,.~-~A~B~.....,.....,..--f..,,,..>tS!.Q,o~·i,~E~~u..i1.---1'.1                                     480 Consnmer Credit
         of Veteran's Benefits               '.1    350 Motor Vehicle                 0 370 Other Fraud                   '.1 710 Fatr Labor Standards     '.1 861 HIA (1395fi)                               0      490 Cable/Sat TV
n 160 Stockholders' SU1ts                    :'.l   355 Motor Vehicle                 (1 371 Truth m Lending                        Act                    0 862 Black Lung (923)                             (1     850 Secnnues/Cornmodtttesf
C1 190 Other Contract                                   Product Ltabthty              CJ 380 Other Personal               '.1 720 Labor/Management         '.1 863 DIWC/DIWW (405(g))                                     Exchange
n 195 Contract Product L1ab1l1ty             0      360 Other Personal                         Property Damage                      Relations              :::J 864 SSID Title XVI                            '.1    890 Other Statutory Actions
(1 196 Francluse                                         Injury                       :::J 385 Property Damage            (1 740 Railway Labor Act         0 865 RSI (405{g))                                 '.1    891 Agncnltural Acts
                                             (1     362 Personal ln.JllfY •                    Product Ltabthty           :'.l 751 Family and Medical                                                         ("J    893 Envmmmental Matters
                                                        Medical Mal         ce                                                      Leave Act                                                                 (1     895 Freedom of Information
:::::::;:RE;;JZA;;;r::;:~~;:;;;;;;::~:;::::...:'::   ·~C~.IVB.~~~R~l~G~HTS~~~~:;:::::P~RIS;;;~o~N~E~R;;:~PE~T~m:;:~o~N;sj '.1 790 Other Labor L1t1gat1on 1-..,,FE=D""ERA,,..,.,L,...,T"'AX.,..,,,,.""surrs"".
                                                                                                                                                                                                      =-I                 Act
("J 210 Land Condemnation                    '.1    44 Other Civil Rights                  Habeas Corplls:                (1 791 Employee Retirement       ("] 870 Taxes (U S Plamuff                         n      896 Arbitration
:'.1 220 Foreclosure                         n      441 Voling                        '.1 463 Ahen Detamee                         Income Secunty Act                 or Defendant)                           :::J   899 Admllllstrauve Procedure
C1 230RentLease&EJecllnent                   n      44 Employment                     '.1 510MouonstoVacate                                                0 871 IR£ ThtrdParty                                           Act/RevieworAppealof
lJ 240 Torts to Land                         :::J   44 Housmgt                                 Sentence                                                               26 USC 7609                                         Agency Dec1s1on
0 245 Tort Prodnct L1abihty                               Accommodations              0 530 General                                                                                                           0      950 Constttnttonahty of
("J 290 All Other Real Property                            Amer w/Dtsabihlles • 0 535 Death Penalty                                 IMMIGRATION                                                                           State Statntes
                                                          Employment                       Other:                         n 462 Natnrahzatlon Apphcauon
                                                       6 Amer w/Dtsabtl11les - 0 540 Mandamus & Other                     n 465 Other hnnngratton
                                                                                      ("J 550 Civil Rights                         Actions
                                                                                      n 555 Pnson Condition
                                                                                      n 560 C1vtl Detamee •
                                                                                               Condiuons of
                                                                                               Confinement
v.             GIN (Place an "X" 1n One Box Only)
ti( l                          Cl 2 Removed from                         ::J 3      Remanded from                  n   4 Remstated or             CJ 5 Transferred from                rJ 6 Multidtstnct                   CJ 8 Multid1stnct
                                       State Court                                  Appellate Court                        Reopened                    Another D1stnct                         L1ugauon-                        Litlgauon •
                                                                                                                                                          (specify)                            Transfer                        Direct File
                                                     Cite the U .S Civil Statute under which you are filing (Do""' cite ftlristlictiolllll statlltes 111tless diversity)
         CAUSE OF ACTION 42 U.S.C.                                   12101 et se : 77 P.S. 1-1031 et se .
                                                     Bnef descnpt1on of cause
                                                     Americans with Disabilities Act and Workers' com nsation retaliation
VII. REQUESTED IN                                    0 CHECK IF THIS IS A CLASS ACTION                     DEMAND$                                            CHECK YES only if
     COMPLAINT:                                           UNDER RULE 23, F RCv P                                                                              JL'RY DEMAND:
VIII. RELATED CASE(S)
                                                         (See lnstructtons)
      IF ANY                                                                                                                                                               DOCKET NUMBER




    RECEIPT#                            AMOUNT                                                APPL YING lFP                                           JUDGE                                    MAG JUDGE
                                  Case 2:18-cv-05062-CFK
                                                     UNITEDDocument   1 Filed
                                                            STATES DISTRICT    11/21/18 Page 2 of 13
                                                                            COL'RT
                                                             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                                   DESIGNATION FORM
                           (to be used by counsel or pro se plainttff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff: _ . __                        --~!38 Have~ ~oad, Ap~~_c, Wilmi~gto~D~19809 ______ _
AddressofDefendant: _ _ _ _ _ _                                --~308 Macdade B~ulev~rd, F~~om, _PA 19033 ____ -·-·- __
Place of Accident, Incident or Transaction: ________1_3~8                                    Macdad~Boulevard~olsom, ~~ 190~~--- ____


RELATED CASE, IF ANY:

Case Number: _ _ _ _                      _   ______ .                                                                              Date Terminated: ___________ _
                                                                       Judge· _ _ - - - · · - - - - · - -

Civil cases are deemed related when Yes is answered to any of the following questions:

I.     Is this case related to property mcluded in an earlier numbered suit pending or within one year                                 YesD                 No[{]
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                               YesD                 No[{]
       pending or within one year previously terminated action m this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier                                  YesO                  No[{]
       numbered case pending or within one year previously terminated action of this court?

                                                                                                                                       YesO                  No   [l]



CIVIL: (Place a            vin one category only)
A.            Federal Question Cases:                                                              B.   Diversity Jurisdiction Cases:

             Indemnity Contract, Manne Contract, and All Other Contracts                          D      I.   Insurance Contract and Other Contracts
             FELA                                                                                 D     2.    Airplane Personal Injury
             Jones Act-Personal Injury                                                            D     3.    Assault, Defamation
             Antitrust                                                                            D     4.    Marine Personal Injury
             Patent                                                                               D     5.    Motor Vehicle Personal Injury
             Labor-Management Relations                                                           D     6.    Other Personal Injury (Please specify) -------- · - - - -
             Civil Rights                                                                         D 1.        Products Liability
             Habeas Corpus                                                                        D s.        Products Liability -- Asbestos
             Securities Act(s) Cases                                                              D 9.        All other Diversity Cases
                                                                                                              (Pleasespecify) _ _ _ _ _ _ _ __
             Social Security Review Cases
             All other Federal Question Cases
             (Please specify) _ _ _ _ _ _ _ _ __



                                                                                   ARBITRATION CERTIFICATION
                                                         (The effect of this certification 1s to remove the case from ellgtbtltty for arbitration.)

                       Michael MU rphy ____ , counsel of record or prose plamtiff, do hereby certify
             Pursuant to Local Civil Rule 53.2. § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable m this civil actton case
             exceed the sum of$150,000.00 exclusive of interest and costs:

             Relief other than monetary damages 1s sought.
                                                                                                                                                        ~!OV 21         2018,
DATE
             -~- --
                   I   I    /A I/, i          -----
                                                                                                                                                        91262
                                                                                                                                                 Attorney ID #(if applicable)
NOTE A tnal de novo will be a trial by JUry only If there has been comphance with FR C p

Civ 609 (512018)
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            (' r A J / IN THE UNITED STATES DISTRICT COURT
            V V VroR THE EASTERN DISTRICT OF PENNSYLVANIA
                    CASE MANAGEMENT TRACK DESIGNATION FORM

                                                                             CMLACTION
 Jodi Darrah
                   v.
 Pain Management & MRI Philadelphia,
                                                                             NO.
 Delaware County & Delaware
In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See§ I :03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus -Cases brought under 28 U.S.C. § 2241 through§ 2255.                              ( )
(b) Social Security - Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                  ( )
(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.      ( )
(d) Asbestos - Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                           ( )
(e) Special Management - Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)

(f) Standard Management - Cases that do not fall into                the other tracks.


                                                                      Jodi Darrah
                                   Attorney-at-la                        Attorney for
  (267) 273-1054                  (215) 525-0210           -----
                                                              murphy@phillyemploymentlawyer.com

Telephone                           FAX Number                           E-Mail Address


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I                                ~\I        l: R. P I-I \. L. \ \ \. ( ; l{. 0 C P, LL(:
                                     DEDICATED TO PROTECTING EMPLOYEE RIGHTS



ATTORNEYS

MICHAEL Ml:RPHY*"
                                               November 21, 2018
MICHAEL C GROH***
BENJAMIN SALVI:\'A**                           Via Hand-Delivery
PREEYA BA!\iSAL*"
NORA L OLSEWSKI*                              Clerk of Court
                                              United States District Court
*(Admitted   in   PA)                         Eastern District of Pennsylvania
*"(Admitted   in   PA &       NJ)             U.S. Courthouse
*""'{Admitted     in   PA,   NJ, &   .Nr)
                                              601 Market Street, Room 2609
                                              Philadelphia, PA 19106-1797

                                                     Re:     Jodie Darrah v. Pain Management & MRI Philadelphia,
                                                             Delaware County & Delaware

                                              Dear Sir/Madam:

                                                      Enclosed, for filing with respect to the above-referenced matter, please
                                              find an original and two copies of the Plaintiffs Civil Action Complaint, a Civil
                                              Cover Sheet, and a check made payable to Clerk, United States District Court, in
                                              the amount of $400.00. Please time stamp the extra copy of the Complaint and
                                              return to me in the self-addressed envelope I have enclosed. A PDF copy of the
                                              Complaint has been saved on the enclosed disc.

                                                     If you have any questions, please do not hesita1e to contact me. Thank
                                              you for your assistance.




                                              MM/el
                                              Enclosures
                                              cc:    Jodi Darrah (via electronic mail)




•
Eight Penn Ctr, Ste 2000
1628 John F Kennedy Blvd.
Philadelphia, PA 19103
T· 267.273.1054 F 215.525.0210
murp/ly@phillyemploymentlawyer.com
www.phillyemploymentlawyer.com
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